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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           Case No. 21-CR-60020-DIMITROULEAS/SNOW

  UNITED STATES OF AMERICA

  v.

  JONATHAN MARKOVICH, and
  DANIEL MARKOVICH,

                           Defendants.
                             __________/

        UNITED STATES’ MOTION FOR REDACTIONS OF TRIAL TRANSCRIPTS

          The United States of America, through undersigned counsel, hereby moves to redact

  patient names, and the names of minor children, in the transcripts of the trial against Defendants

  Jonathan and Daniel Markovich.

          These trial transcripts contain Confidential Substance Abuse Patient Information, including

  the identities of patients, as defined in the Protective Order entered in this case [D.E. 34].

  Confidential Substance Abuse Patient Information is protected under Title 42, United States Code,

  Section 290dd-2(a). Under 42 C.F.R. § 2.66(d)(1), patient identifying information contained in

  substance abuse treatment records must be removed from “any documents made available to the

  public.” Thus, for the same reason as certain exhibits were redacted or filed under seal by the

  parties, the Government requests the redaction of patient names from the trial transcripts before

  they are filed on the docket and made available to the public. [See, e.g., D.E. 422 (Order

  authorizing the filing of certain exhibits under seal)].

          In addition to patient names, the trial transcripts include a handful of references to

  Defendants’ or witnesses’ minor children. The Government also seeks to redact those names in

  the trial transcripts.

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         The Government will submit to the Court exhibits containing redacted versions of the trial

  transcripts for the Court’s review, which will be identified as exhibits to this motion, as noted

  below 1:

             Docket Entry                   Trial Date                Redactions Requested
                 309                         9/14/2021                     See Exhibit A
                 310                         9/15/2021                No redactions requested
                 311                         9/17/2021                     See Exhibit B
               315, 319                      9/23/2021                     See Exhibit C
                 320                         9/24/2021                     See Exhibit D
                 321                         9/27/2021                     See Exhibit E
                 322                         9/30/2021                     See Exhibit F
                 323                         10/1/2021                     See Exhibit G
                 324                         10/4/2021                     See Exhibit H
                 354                        10/12/2021                     See Exhibit I
                 355                        10/14/2021                     See Exhibit J
                 356                        10/19/2021                     See Exhibit K
                 357                        10/20/2021                     See Exhibit L
                 358                        10/21/2021                    See Exhibit M
                 359                        10/22/2021                     See Exhibit N
                 360                        10/26/2021                     See Exhibit O
                 361                        10/27/2021                     See Exhibit P
                 362                        10/28/2021                No redactions requested
                 363                        10/29/2021                     See Exhibit Q
                 403                         11/3/2021                No redactions requested
                 404                         11/4/2021                No redactions requested
                 449                         9/13/2021                     See Exhibit R


         WHEREFORE, for the above-mentioned reasons, the Government requests that patient

  names and the names of minor children be redacted in the versions of the trial transcripts that

  become public, as proposed in Exhibits A through R. The Government has conferred with counsel

  for the Markoviches, who do not oppose this Motion.




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          The Government will contact the Court after the holiday to determine how the Court would
  prefer to receive these voluminous exhibits.
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  Dated: December 30, 2021                  Respectfully submitted,

                                            JUAN ANTONIO GONZALEZ
                                            UNITED STATES ATTORNEY
                                            SOUTHERN DISTRICT OF FLORIDA

                                            JOSEPH S. BEEMSTERBOER
                                            ACTING CHIEF, FRAUD SECTION
                                            CRIMINAL DIVISION
                                            DEPARTMENT OF JUSTICE

                                     By:    /s/ Jamie de Boer
                                            JAMES V. HAYES (FL Bar # A5501717)
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                              CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on December 30, 2021, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF.
                                                /s/ Jamie de Boer




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